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                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION



 TERRY SADLER AND THREESA SADLER
 as Next Friend of JOHN DOE, a Minor,                     Civil Action No.:
                    Plaintiffs,
                                                          JURY DEMANDED
      vs.

 GREENVILLE INDEPENDENT SCHOOL
 DISTRICT, a governmental unit,
                    Defendant.




                                  PLAINTIFF’S ORIGINAL COMPLAINT

            COMES NOW Plaintiffs, Terry Sadler and Threesa Sadler (“Plaintiffs”), as Next Friend for

John Doe (“John”), a Minor, and file this original complaint, complaining of Defendant,

GREENVILLE INDEPENDENT SCHOOL DISTRICT (“the School District” or “GISD”), and

would respectfully show as follows:

I.          INTRODUCTION

            1.     This case is necessary because the School failed to protect John from repeated sexual

abuse by another student, even after Plaintiffs informed the School of the sexual abuse and even

after the School promised to protect John. Plaintiffs seek damages, injunctive relief and attorney

fees from the School.

II.         PARTIES

            2.     TERRY SADLER AND THREESA SADLER are competent adults residing in Hunt

County, Texas. John Doe is their child, also residing in Hunt County, Texas.

            3.     GISD is a state-chartered organization whose purpose is to govern the affairs of the

public schools in Hunt County, Texas. The School District is responsible for the policies, practices,

and customs of its schools, as well as the hiring, training, supervision, control, and discipline of its


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teachers, principals, and other personnel. GISD may be served with process by serving John C.

Kelso, President of the Greenville Independent School District, Board of Trustees, 4004 Moulton

Street, Greenville, Texas 75401.

III.    JURISDICTION AND VENUE

        4.       This lawsuit asserts claims under 42 U.S.C. § 1983, the 14th Amendment of the

United States Constitution, and Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681.

Accordingly, this Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331. Additionally,

the Court has supplemental jurisdiction over any state constitutional and statutory claims pursuant to

28 U.S.C. § 1367.
       5.     Venue is appropriate in this judicial district pursuant to 28 U.S.C. §§1391(b) and

1391(c) because all parties reside in this judicial district and a substantial part of the events or

omissions giving rise to the claims occurred in this judicial district.

IV.     FACTS COMMON TO ALL CAUSES OF ACTION

        A.       The November 6, 2018 Sexual abuse

        6.       On November 6, 2018, a GISD employee saw another student sexually abusing

JOHN. At that moment, JOHN was attending the KGJ STEM Academy campus for GISD located at

1316 Wolfe City Dr., Greenville, Texas 75401. The GISD employee reported that he walked into

the bathroom where another student was touching JOHN’s penis. Upon information and belief, the

GISD employee made no report to authorities as required under the law. The other student put soap

on JOHN’s penis and was forcibly trying to masturbate JOHN against his will.

        7.       GISD took no action to prevent this from occurring, despite knowledge of similar

instances, similar claims, and similar disputes in the past few years. In fact, when Threesa Sadler

spoke with Principal Stacey Kluttz on November 7, 2018, Kluttz indicated that she had “heard

nothing concerning the sexual abuse of November 6, 2018.”

        8.       Further, JOHN’s parents spoke with GISD’s assistant superintendent Sharon Boothe.

She promised that the School District would file a Child Protective Services report immediately.

Ms. Boothe also promised that GISD would craft and implement a customized safety plan for JOHN.



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Boothe promised JOHN’s parents that: the other student would not be unsupervised in the bathroom;

that GISD would protect JOHN ensuring that he would never be alone with the other student; all

appropriate staff at the School and GISD would be made aware of the abuse; and that she and the

GISD counselor would check in on JOHN periodically throughout the school day to see if he was in

distress. These promises by the GISD were lies. GISD did not file a timely report with Child

Protective Services as promised. Nor did the School District create or implement a safety plan as

promised. The GISD did not call law enforcement. The GISD did not change its policies or

procedures. GISD’s promises that it would take appropriate action were lies. Neither the GISD

employees nor KGJ took any actions to prevent JOHN from suffering this type of abuse in the

future. Rather take appropriate action, GISD engaged in a cover-up and repeated attempted to brush

these shocking and abusive events under the proverbial rug.

        9.       Almost immediately after this instance of abuse, JOHN began to exhibit symptoms of

sexual abuse. He began chewing through his shirts. He became deathly afraid to go to the

bathroom. In fact, his fear was intense that he defecated in his own pants rather than go to the

bathroom at school. JOHN said he was fearful someone would force him to have “bubbles on his

guts.” JOHN refers to his penis as “guts” and the “bubbles” are the soap that was forced upon him

and placed on his penis.

        10.      JOHN’s parents confirmed that after the November 6, 2018 sexual abuse:

               KGJ GISD employees did not file a timely report of the abuse;

               GISD no action to investigate, protect, or implement any safety protocols to protect

                 JOHN or any of the students at GISD;

               GISD did not follow-up with JOHN’s parents;

               GISD contacted no law enforcement officials;

        B.       The March 2019 Sexual abuse by the Same Student:

        11.      On March 12, 2019, the very same student once against sexually assaulted JOHN

while he was in GISD’s care. GISD personnel found JOHN in the bathroom with his pants down.

Video evidence shows that JOHN’s abuser left the bathroom shortly before GISD’s teacher came

into the bathroom. Rather than help JOHN, GISD’s teacher chastised JOHN which further


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exacerbated the abuse JOHN had suffered. Again, JOHN had “bubbles put on his guts” and GISD

did NOTHING to protect him.

        12.      On March 13, 2019, Plaintiffs confronted Principal Kluttz again. Plaintiffs asked

Klutz for the written safety plan, the CPS report, and any documentation related to JOHN’s abuse

occurring in November 2018. There was none. Instead, Klutz admitted that the School District had

failed to implement a safety plan to protect JOHN. Principal Kluttz admitted that the School District

did not make a timely report to Child Protective Services and that the GISD has failed to file a report

with any law enforcement agency. Principal Kluttz apologized by saying “I’m sorry, I failed you,”

but this hollow apology did not protect JOHN or any other student at GISD.

        13.      Because the GISD would not, JOHN’s parents went to GISD police department to

report the incident. Plaintiffs spoke with Chief Ramon Rodriguez and Officer Nathan Baker. GISD

police have informed JOHN’s parents that video evidence confirms that JOHN’s abuser left the

bathroom after abusing JOHN. The GISD Police Department also confirmed that they “were never

informed” by any of the GISD mandatory reporters. GISD Police were angry. The Officers

informed Plaintiffs that if they knew of the sexual abuse, they could have retrained, taught,

investigated and prevented the second sexual abuse. Obviously, JOHN suffered sexual abuse on

March 12, 2019 which the GISD Police could have prevented by implementing basic protective

measures. But they could not protect JOHN because the School District never reported the

November 6, 2018 sexual abuse incident. Instead, GISD and their employees made it more

dangerous by doing nothing, lying to JOHN’s parents, and abandoning their responsibilities to

JOHN.

        14.      JOHN’s parents spoke with Assistant Superintendent Boothe again. She confirmed

that she was “unaware” of anything. Again, she incorrectly “believed” that School District

personnel filed timely reports and implemented a safety plan. JOHN’s parents also spoke with Chip

Gregory, Chief of Schools for GISD. Mr. Gregory tried to assure Plaintiffs that he was “working on

it. The Plan is not on paper. Just trust me.”

        15.      On March 15, 2019, Threesa Sadler corresponded with Principal Kluttz, who refused

to remove JOHN’s abuser from the same GISD campus where JOHN attends. Kluttz refused to


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share any reports, plans, or protection provisions in place for JOHN. Instead, Kluttz’ had no viable

safety plan. Rather, Klutz and GISD’s plan included singling out JOHN and forcing him to use a

separate restroom than other children. GISD’s tone deafness to the sexual abuse suffered by JOHN

further alienated him from his classroom, classmates, others at GISD, and ostracized him and his

parents.

        16.      JOHN’s parents and GISD Police have confirmed that GISD eventually drafted a

flimsy report from the November 6, 2018 sexual abuse incident which the School District filed with

Child Protective Services, but only after Plaintiffs questioned GISD’s intentions for a week. GISD’s

untimely report to Child Protective Services did not even contain basic information such as the name

of the victim and the name of the abuser. Instead, GISD falsely claimed the names of the students

were “unknown,” thereby preventing Child Protective Services from properly investigating or

otherwise reacting to the report. In other words, even when GISD made its tardy report of the

incident to Child Protective Services, its report lacked good faith and did not provide enough

information to allow Child Protective Services to investigate the incident.

        17.      JOHN has expressed to Plaintiffs and anyone willing to listen that “he is afraid of

school and freaked out.” JOHN’s feeling is understandable, given GISD’s vapid and anemic

response to a sexual abuse against a child in GISD’s care and custody.

        18.      These sexual abuses have taken JOHN’s innocence from him and nothing can restore

it. JOHN is now facing years of recovery, battling feelings no six year old should have to face.

JOHN questions how this could have happened to him. JOHN is now in therapy. He is trying to

cope with the emotional and mental trauma he suffered because GISD did not protect him from

sexual abuse by another GISD student.

        C.       GISD allowed a toxic, illegal, and dangerous environment to exist at JOHN’s

                 School:

        19.      GISD abandoned JOHN when he needed an adult teacher to protect him. Even when

JOHN’s parents pushed for answers, GISD pushed back. GISD went so far as to instruct the GISD

Police Department to terminate any investigation into the incident. Truly, the GISD did not want to

ask the difficult questions to understand what happened and how it could have prevented this sexual


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abuse. Adding insult to injury, GISD abruptly shutdown Plaintiffs’ access to their own child’s

school records by blocking Plaintiffs’ access to Skyward. GISD’s shutdown of Plaintiffs’ access to

Skyward was contemporaneous with its demand for GISD to address the abuse suffered by JOHN.

Skyward is internet device that allows open lines of communication between the school and families.

Students and parents can login to Skyward to view attendance, grades, schedules and calendars.

Since GISD provided no explanation for banishing Plaintiffs from Skyward, the only remaining

explanation is GISD punishes parents who complain about sexual abuse perpetrated on their

children.

        20.      Since GISD and its employees refused and/or failed to timely report JOHN’s sexual

abuse, the Plaintiffs contacted local law enforcement to open an investigation. On information and

belief, GISD instructed the GISD police department to conduct NO investigation. Instead, they

informed the chief of police for GISD to stop investigating as the GISD’s lawyers would conduct an

investigation. To date, the Plaintiffs have never had an investigation open by GISD’s police

department, which purports to have jurisdiction over Plaintiffs’ claims to law enforcement. GISD’s

actions in this regard is a further violation of Plaintiffs’ constitutional and due process rights.

        21.      If this abuse against JOHN was not enough, there is circumstantial evidence

demonstrating other sexual misconduct that has occurred in prior years. Plaintiffs are informed and

believe that this is not the first time that GISD has allowed this exact type of abuse to occur. When

similar claims were raised with GISD, GISD told those parents to leave GISD. Like JOHN’s abuse,

GISD’s cavalier attitude and actions toward sexual abuse is shocking. Evidence shows that GISD’s

indifference to protecting students is systemic and prolonged. Other GISD students have suffered

the exact type of abuse that JOHN suffered. Certainly, the lack of oversight, training, and proper

policies has resulted in an environment friendly to the sexual abuse of children at GISD. By this

lawsuit, Plaintiffs seek to reverse GISD’s culture of indifference. Plaintiffs seek injunctive relief

requiring that GISD properly investigate allegations of sexual abuse, rather than proffer half-baked

investigations or, worse yet, deliberate indifference to allegations that one student repeatedly

sexually assaulted another student. Through injunctive relief, Plaintiffs seek a remedy that will

protect their child and other children from unchecked predatory behavior.


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V.       GISD REFUSES TO FOLLOW POLICIES AND PROCEDURES OR ENACT ONES

TO PROTECT STUDENTS FROM SEXUAL ABUSE

         22.     The Plaintiffs prepared a number of procedures for GISD to consider enacting, all of

which GISD refused to evaluate. Instead, GISD claims that its existing policies and procedures are

appropriate and followed for JOHN. Not so. Any policies or procedures in place at GISD were

either forgotten, never learned, ignored, or refused to follow.

     •   Complaints against GISD will either be

                 A) Referred over to the Hunt County District Attorney for opening and handling an
                    investigation for any GISD employees who failed to report, for either
                    Abuse/neglect, or Child Endangerment; OR
                 B) these complaints are handed over to a law enforcement agency (not the GISD
                    police department) for investigation into any criminal wrongdoing

     •   Change GISD policy to fast track the appeal of cases involving sexual abuse, sexual violence,
         and sexual assault against a student or staff (as GISD drags its feet for months).

     •   Additions to existing policy that GISD did not follow:

                 A) Add “sexual abuse” to the school Safety Transfer Policy

     •   Recognition that every accusation of sexual abuse by a student be taken seriously;

     •   Immediately contacting both parents regarding the accusation and providing those parents
         with a detailed accounting of the accusations.

     •   Opening an investigation into the accusations appointing a school district official to
         investigate the accusations. The official should not be an employee of the staff of the
         campus where the investigation is to take place.

     •   Scheduling an in-person meeting with the student’s parents and the district official who will
         be investigating the accusation.

     •   Detailing the investigation procedures, how that investigation will take place and how the
         parents will be notified as to the results of the investigation to the parents during this
         meeting.

     •   Parents should have the option of immediately removing their child from the classroom until
         such time as the investigation concludes; without any penalty to the child. Reasonable
         accommodation should be made to minimize the impact to the student.

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If the accusations are found to be unproven at the time, then:
      •   Implementing a plan of action that includes observable guidelines to ensure that there is
          never any unaccompanied contact between the students.
      •   Conducting random spot checks during extracurricular activities to ensure that the guidelines
          are being followed.
      •   Conducting periodic follow-up meetings with the student and her/his parents to ensure that
          there had not been any inappropriate action or contact with the person who was accused.
If the accusations were found to be true, then:
      •   Immediately notifying the applicable law enforcement authorities;
      •   Immediate removal of the abuser from the classroom and campus where the victim is in
          attendance;
      •   Notify all parents of students that were potential victims; and
      •   Document the accusations.
          23.    Despite multiple pleas from the Plaintiffs for common sense procedures, GISD has

refused to honestly and openly engage on the failures to enact procedures and policies to protect it’s

the children, including JOHN.

          24.    To the extent GISD had developed any policies and procedures in regards to sexual

abuse, discrimination, and harassment of a student, such policies and procedures were wholly

ineffective or GISD, by and through its agents, including GISD personnel, the principal and those

acting under their authority, among others, consciously ignored these policies and procedures.

VI.       NOTICE TO GISD HAS BEEN GIVEN

          25.    Prior to bringing this action, Plaintiffs gave detailed and specific notice of their
claims against GISD. GISD maintains that it did nothing wrong. GISD maintains that its policies

and procedures are appropriate. GISD maintains that its handling of JOHN’s sexual abuse is

perfectly acceptable. Now comes this action.

VII.      CAUSES OF ACTION

          A.     Violations of 42 U.S.C. § 1983

          26.    Plaintiffs incorporate by reference as if fully set forth herein, the allegations in each

of the previous paragraphs.

          27.    This claim is based on a Substantive Due Process violation in contravention of the

Fourteenth Amendment to the U.S. Constitution pursuant to the 42 U.S.C. §1983. Violations of the

Fourteenth Amendment by local government state actors create a cause of action under 42 U.S.C.

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§1983, which provides that “Every person who, under color of any statute, ordinance, regulation,

custom, or usage, of any State ... subjects, or causes to be subjected, any citizen of the United States

... to the deprivation of any rights, privileges, or immunities secured by the Constitution and laws,

shall be liable to the party injured in an action at law, suit in equity, or other proper proceeding for

redress.”

        28.      The U.S. Supreme Court held that Congress intended §1983 to apply to local

government entities as well as to persons. Monell vs. New York City Department of Social Services,

436 U.S. 658, 691-694.

        29.      In Texas, “schoolchildren [like JOHN] have a liberty interest in their bodily integrity

that is protected by the Due Process Clause of the Fourteenth Amendment and that physical sexual

abuse by a school employee violates that right…” Doe vs. Taylor Independent School District, 15

F.3d 443, 445 (1994). As the Court stated in Taylor, “If the Constitution protects a schoolchild

against being tied to a chair or against arbitrary paddlings, then surely the Constitution protects a

schoolchild from physical sexual abuse …” Id. at 451.

        30.      Additionally, under the law, the GISD is legally responsible for supervisory failures

and failures to train that result in abuse if those failures manifest “callous disregard,” or “deliberate

indifference” to the constitutional rights of that child. Id. at 453. GISD has a broad obligation to

supervise all its employees and has liability under Section 1983 for supervising (or in this case,

failing to supervise) its employees in a manner that manifests callous disregard or deliberate

indifference to the Constitutional rights of its students.

        31.      The Fifth Circuit has held that supervisors can be liable for gross negligence or

deliberate indifference to violations of their subordinates. Hinshaw v. Doffer, 785 F.2d 1260, 1263

(1986). Further, the U.S. Supreme Court has held that municipalities are responsible under §1983

for a failure to train its employees those results in the violation of a plaintiff’s right… City of

Canton v. Harris, 489 U.S. 378, 381.

        32.      Here, GISD created an environment where JOHN could be sexually abused. GISD

increased the danger that JOHN would be abused again by, among other things, lying to the

Plaintiffs; refusing to promptly report to law enforcement the abuse; by refusing to create or enact


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the safety plan it promised to the Plaintiffs; by instructing the GISD police department to stop any

investigation once reported by the Plaintiffs; and by alienating JOHN and depriving him of a safe

educational environment.

        33.      GISD’s failure to follow appropriate policies and prompt procedures for handling

JOHN’s abuse further deprived JOHN of his liberty interest in his bodily integrity. It is unclear

exactly what appropriate policies GISD actually followed since it refuses to be transparent with the

Plaintiffs and has instructed its GISD police department to stop any investigation.

        34.      GISD is further liable to Plaintiffs under Section 1983 because GISD failed to train

and supervise its personnel regarding how to properly react to a report of sexual abuse on one of its

campuses. The depths of the lack of training and supervision is astounding in this modern day. The

lack of training and supervision in this case rises to the level of callous disregard or deliberate

indifference to a six year old boy’s right to be free from sexual abuse at school.

        35.      Due to a combination of arrogance, callousness, lack of training and supervision,

GISD personnel failed to appreciate the high level of probability that JOHN’s abuser would repeat

the sexual abuse. Property instructed, honest, and attentive GISD personnel could have prevented

this tragedy. More importantly, GISD did not train its personnel or did not supervise its personnel in

such a way that it would take steps to protect JOHN, the victim. Instead, GISD personnel forced

JOHN, the victim, to accommodate the assailant by forcing him to use a “special bathroom” in the

nurse’s quarters. After the second sexual abuse, GISD personnel were so poorly trained and

supervised, they chastised JOHN when they found him the bathroom with his trousers down. This

proves that personnel were completely unaware of what had happened to JOHN months earlier. The

abuse suffered by JOHN was severe and pervasive and GISD had actual knowledge of the danger yet

did nothing to prevent further abuse from occurring to JOHN. GISD’s actions have deprived JOHN

of access to his education and an abuse free environment.

        36.      GISD personnel did not know or GISD did not supervise its personnel so that they

would notify GISD’s very own police force that a student committed a sexual abuse on its campus.

Instead of taking advantage of a police force specifically designed to protect student, GISD

personnel instructed the policy force to refrain from investigating the sexual abuse. What’s even


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more shocking is that GISD personnel are mandatory reporters under Texas Family Code section

261.101. Thus, GISD failed to train its personnel to comply with even the most basic Texas law

designed to protect children – that a “report is required when a person has cause to believe that a

child has been adversely affected by abuse or neglect.” Texas Family Code § 261.101. Even a 10

year old child knows that police exist to investigate alleged criminal conduct.

        37.      GISD personnel did not understand the importance of conducting a prompt

investigation of the allegations. Nor did GISD personnel know to thoroughly document the incident.

GISD did not train its personnel to utilize the resources around it to help JOHN. For example, GISD

did not train its personnel to immediately involve Child Protective Services. GISD only did so after

Plaintiffs pestered them to do so.

        38.      GISD failed to create any organized plan to protect JOHN. It followed no checklist; it

followed no prescribed action plan. Rather, GISD ignored the event and acted as if it never happened

which lead to a repeat of the exact same sexual abuse.

        39.      All these shameful facts illustrate GISD’s callous disregard and deliberate

indifference to JOHN’s fundamental right to be free from sexual abuse while attending a public

elementary school. GISD’s response to JOHN, JOHN’s parents, and others in the past have been

unreasonable and shameful. Rather than swift justice, understanding, cooperation, transparency, and

willingness to change or enact new or updated procedures, GISD’s shows a pattern of deliberate

indifference with its stance.

        40.      GISD further punished JOHN and the Plaintiffs by counting his absences to school as

a result of seeking counseling treatments as “unexcused absences.”

        41.      GISD’s actions have led directly to JOHN now facing severe emotional and mental

trauma. As a result of Plaintiffs’ and JOHN’s deprivation of his constitutional rights, Plaintiffs and

JOHN suffered emotional and physical injuries and suffered economic and noneconomic damages.

Plaintiffs seek those damages in this case.

        D.       Violations of 20 U.S. C. § 1681 – Title IX

        42.      Plaintiffs incorporate by reference as if fully set forth herein, the allegations in each

of the previous paragraphs.


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        43.      United States Code Chapter 20, section 1681, known as Title IX, provides, in

pertinent part, that “[n]o person in the United States shall, on the basis of sex, be excluded from

participation in, be denied the benefits of, or be subjected to discrimination under any education

program or activity receiving Federal financial assistance.” 20 U.S.C. § 1681(a).

        44.      The implied right of action under Title IX supports a claim for monetary damages.

Franklin v. Gwinnett County Pub. Sch., 503 U.S. 60, 76 (1992).

        45.      In this case, GISD is liable for JOHN’s sexual abuse because school officials who had

a duty to protect JOHN knew of the abuse and had the power to act to end the abuse but failed to do

so. GISD did not take remedial action of any kind, even though GISD officials knew remedial

action was necessary to protect JOHN from future abuse. Rather than taking appropriate and swift

remedial action, GISD lied to the Plaintiffs about creating a safety plan and reporting. GISD’s

actions in this regard led directly to an increase in the danger JOHN faced on a daily basis.

        46.      Therefore, Plaintiffs allege that GISD, by and through the acts and omissions of its

agents, including Boothe, Kluttz, and others not yet identified, was deliberately and consciously

indifferent to the sexual abuse suffered by JOHN all in violation of his rights pursuant to Title IX.

        47.      In addition, and in the alternative, Plaintiffs further allege that the failures of GISD to

have policies, procedures, practices, and customs in place to assure that JOHN was not a victim of

sexual abuse, discrimination, and harassment violated his rights pursuant to Title IX.

        48.      As a result of Plaintiffs’ and JOHN’s deprivation of his rights under Title IX,

Plaintiffs and JOHN suffered emotional and physical injuries and suffered economic and

noneconomic damages. Plaintiffs seek those damages in this case.

VIII. ATTORNEY FEES

        49.      Defendants' conduct as described in this complaint and the resulting damage and loss

JOHN has necessitated JOHN's retaining Kelley | Clarke, PC. JOHN is, therefore, entitled to recover

from Defendants an additional sum to compensate for a reasonable fee for such attorneys' services in

the preparation and prosecution of this action, as well as a reasonable fee for any and all appeals to

other courts. In this regard, JOHN claims entitlement to attorneys' fees and costs under the fee-

shifting provisions of 42 U.S.C. §1988.


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IX.      PRAYER FOR RELIEF

         WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully request that this Court

grant the following relief:

      a) Injunctive relief in the form of a mandatory injunction requiring Defendant to properly train,

         instruct and supervise its personnel regarding allegations of sexual abuse at any of its

         schools;

      b) Compensatory damages in an amount to be proved at trial;

      c) Attorney fees under any law that provides for the recovery of attorney fees;

      d) Any further relief to which Plaintiffs may be entitled.

X.       REQUEST FOR JURY TRIAL

         Plaintiffs request a jury trial for all claims for which a jury trial is permitted by law.



DATED: June 27, 2019                                             KELLEY | CLARKE, PC


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